
221 Ga. 836 (1966)
147 S.E.2d 444
UNDERCOFLER et al.
v.
DELTA AIR LINES, INC. UNDERCOFLER et al.
v.
SOUTHERN AIRWAYS, INC. UNDERCOFLER et al.
v.
EASTERN AIR LINES, INC.
23282, 23284, 23286.
Supreme Court of Georgia.
Argued December 15, 1965.
Decided February 2, 1966.
*837 Arthur K. Bolton, Attorney General, Louis F. McDonald, Assistant Attorney General, H. Perry Michael, for appellants.
B. D. Murphy, James N. Frazer, Wayne H. Shortridge, Powell, Goldstein, Frazer &amp; Murphy, for appellees (Cases Nos. 23282 and 23284).
E. Smythe Gambrell, Gambrell, Harlan, Russell &amp; Maye, Theodore M. Forbes, Jr., for appellee (Case No. 23286).
GRICE, Justice.
In cases numbered 23282, 23284 and 23286 the defendants in the trial court seek to obtain a reversal by bill of exceptions of the same rulings complained of in their appeals in cases numbered 23281, 23283 and 23285, decided adversely to them. Undercofler v. Eastern Air Lines, 221 Ga. 824 (147 SE2d 436); Undercofler v. Delta Air Lines, 221 Ga. 836 (147 SE2d 444); Undercofler v. Southern Airways, 221 Ga. 836 (147 SE2d 444). In view of those decisions, the issues in the instant cases numbered 23282, 23284 and 23286 are now moot. Hence, these bills of exceptions are
Dismissed. All the Justices concur, except Almand and Cook JJ., who are disqualified.
